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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                        Plaintiff,               )
                                                 )                8:05CR163
                vs.                              )
                                                 )                     ORDER
JAZMIN CERNA,                                    )
                                                 )
                        Defendant.               )

        Defendant Jazmin Cerna (Cerna) appeared before the court on January 6, 2012, on the Petition
for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 318).            Cerna was
represented by Assistant Federal Public Defender Julie B, Hansen and the United States was represented
by Assistant U.S. Attorney Thomas J. Kangior. Through her counsel, Cerna waived her right to a probable
cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition alleges
probable cause and that Cerna should be held to answer for a final dispositional hearing before Chief
Judge Laurie Smith Camp.
        The government moved for detention. Through counsel, Cerna declined to present any evidence
on the issue of detention. Since it is Cerna’s burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that she is neither a flight risk nor a danger to the community, the court finds Cerna
has failed to carry her burden and Cerna should be detained pending a dispositional hearing before Chief
Judge Smith Camp.


        IT IS ORDERED:
        A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in Courtroom No.
2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 1:00 p.m.
on February 27, 2012. Defendant must be present in person.


        DATED this 6th day of January, 2012.

                                                          BY THE COURT:

                                                          s/Thomas D. Thalken
                                                          United States Magistrate Judge
